      Case 3:22-cv-00257 Document 11 Filed on 03/01/23 in TXSD Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     GALVESTON DIVISION

 KACEY NICOLE WAGNER                                   §
                                                       §
                   Plaintiff,                          §
                                                       §
                                                       § CASE NO. 3:22-cv-257
 v.                                                    §
                                                       §
 NEWREZ, LLC d/b/a Shellpoint Mortgage                 §
 Servicing                                             §
                                                       §
                   Defendant.



  ROBERT NEWARK’S MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF


 TO THE HONORABLE JUDGE OF SAID COURT:

            Robert C. Newark, III ("Movants”) respectfully request that the Court enter an order

 withdrawing Movants as counsel of record for Plaintiff, Kacey Nicole Wagner. In support

 of the Motion, Movant would should the following:

                1. Good cause exists for this Court to grant the Motion because irreconcilable

differences between counsel and Defendant exists:

                a. The client has failed substantially to fulfill an obligation to the lawyer

                    regarding the lawyer’s service to including not responding to phone calls

                    and text messages;

                b. The representation has become unreasonable difficult by the client.

      2.          Plaintiff does not have other counsel at this time. Plaintifft’s last known

address is 1310 7th St, Santa Fe, TX 77510.

           3.     The withdrawal is not sought for delay only, but so that justice may be done.



                                                 -1-
      Case 3:22-cv-00257 Document 11 Filed on 03/01/23 in TXSD Page 2 of 2




        WHEREFORE, PREMISES CONSIDERED, Movants respectfully request that the

Court enter an order permitting Robert C. Newark, III, to withdraw as counsel of record for

Plaintiff.

                                            Respectfully submitted,

                                            /s/ Robert C. Newark
                                            Robert C. Newark
                                            State Bar No. 24040097
                                            robert@newarkfirm.com
                                            1341 W. MOCKINGBIRD LANE, STE 600W
                                            DALLAS, TEXAS 75247
                                            (866)230-7236
                                            (888)316-3398 (FAX)
                                            ATTORNEY FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        A true and correct copy of this document was served by ECF on March 1, 2023 to:


        Melanie D. Morgan


        Additionally, a copy was mailed to Plaintiff at the address indicated in this motion and
email to her at kaceywag@gmail.com.




                                            /s/Robert C. Newark, III
                                            Robert C. Newark, III




                                             -2-
